                IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

SETI JOHNSON and MARIE               )
BONHOMME-DICKS, on behalf of         )
themselves and those similarly       )
situated, and SHAREE SMOOT and       )
NICHELLE YARBOROUGH, on behalf       )
of themselves and those              )
similarly situated,                  )
                                     )
                 Plaintiffs,         )
                                     )
           v.                        )        1:18-cv-467
                                     )
TORRE JESSUP, in his official        )
capacity as Commissioner of          )
the North Carolina Division of       )
Motor Vehicles,                      )
                                     )
                 Defendant.          )


                    MEMORANDUM OPINION AND ORDER

THOMAS D. SCHROEDER, Chief District Judge.

     This civil action arises out of the revocation of Plaintiffs’

North Carolina driver’s licenses, pursuant to N.C. Gen. Stat. § 20-

24.1(a)(2), because of Plaintiffs’ failure to pay court fines and

costs for motor vehicle violations.        Plaintiffs seek declaratory

and injunctive relief against Defendant Torre Jessup, in his

official capacity as Commissioner of the North Carolina Division

of Motor Vehicles (“DMV”), for enforcing section 20-24.1(a)(2)

against them in alleged violation of their equal protection and

due process rights under the Fourteenth Amendment to the United

States Constitution.    Specifically, Plaintiffs — who have limited




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financial means — claim that it is unconstitutional for the DMV to

revoke their driver’s licenses for failure to pay fines and costs

without first affirmatively determining that they have the ability

to pay.

       Before the court are the Commissioner’s motion for judgment

on the pleadings pursuant to Federal Rule of Civil Procedure 12(c)

(Doc. 46) and Plaintiffs’ motions for class certification pursuant

to Rule 23(b)(2) (Doc. 36) and preliminary injunction pursuant to

Rule    65    (Doc.    38).         For   the       reasons   set      forth    below,   the

Commissioner’s motion for judgment on the pleadings will be granted

in   part     and     denied    in    part,         Plaintiffs’       motion    for     class

certification         will     be    granted,        and   Plaintiffs’         motion    for

preliminary injunction will be denied.

I.     BACKGROUND

       Like    many     states,       North     Carolina        has    enacted    statutes

directing the revocation of driver’s licenses for failure to pay

fines and costs imposed for traffic violations.                             The statutory

scheme works as follows: North Carolina courts “must report” to

the DMV the name of a traffic defendant who “fail[s] to pay a fine,

penalty, or costs within 40 days of the date specified in the

court’s judgment.”           N.C. Gen. Stat. § 20-24.2(a)(2).                  Upon receipt

of this notice, the DMV “must revoke” the traffic defendant’s

driver’s license indefinitely.                  Id. § 20-24.1(a).           Revocation is

accomplished        through     the       DMV’s      issuance     of    a   “[r]evocation

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order[]” to the traffic defendant that becomes “effective on the

sixtieth day after the order is mailed or personally delivered to

the person.”   Id.

     Unlike some states, North Carolina provides a procedure by

which traffic defendants can avoid or undo license revocation by

showing that their failure to pay is no fault of their own. 1

Section   20-24.1(b)(4)    states   that    a   traffic   defendant      may

“demonstrate[] to the court that his failure to pay the penalty,

fine, or costs was not willful and that he is making a good faith

effort to pay or that the penalty, fine, or costs should be

remitted.”   If the court determines that the traffic defendant has

made a sufficient showing, the court notifies the DMV; upon receipt

of this notice, the DMV is required to rescind any revocation order

(if the order is pending but not yet in effect) or restore the

traffic defendant’s license (if the revocation order has already

gone into effect).    Id. § 20-24.1(b), (c).      Moreover, section 20-

24.1(b1) expressly provides an opportunity for traffic defendants

to address their ability to pay: “A defendant must be afforded an

opportunity for a trial or a hearing within a reasonable time of

the defendant’s appearance . . . [u]pon motion of [the] defendant.”

The revocation orders the DMV issues to traffic defendants cite to


1
  For discussion of other state statutory schemes, see, e.g., Mendoza v.
Garrett, No. 3:18-cv-01634-HZ, 2018 WL 6528011, at *1–4 (D. Or. Dec. 12,
2018); Robinson v. Purkey, 326 F.R.D. 105, 115–23 (M.D. Tenn. 2018);
Fowler v. Johnson, No. 17-11441, 2017 WL 6379676, at *1–2 (E.D. Mich.
Dec. 14, 2017), appeal filed, No. 17-2504 (6th Cir. Dec. 19, 2017).

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section 20-24.1 but do not mention any of its provisions or

otherwise refer to the ability-to-pay exception.         (Doc. 35 ¶ 32.)

     Named Plaintiffs Nichelle Yarborough and Sharee Smoot are

low-income North Carolinians whose licenses have been suspended by

the DMV for failure to pay fines and costs.       (Docs. 5, 41.)     Named

Plaintiffs Seti Johnson and Marie Bonhomme-Dicks are low-income

North Carolinians who currently owe fines and costs for traffic

violations, and who are in imminent danger of license revocation. 2

(Docs. 4, 40, 63.)   The named Plaintiffs claim that they are unable

to pay the fines and costs imposed on them and that neither the

state court nor the DMV has inquired into their ability to pay. 3

(Doc. 35 at 1–6.)

     The named Plaintiffs are not alone.       In the three-year period

prior to the initiation of this lawsuit, about 55,000 traffic

defendants received a revocation order but made their payments

prior to the revocation date.       (Doc. 62.)     About 68,000 traffic

defendants failed to make their payments by the revocation date,


2
  The DMV has agreed to stay revocation of Johnson’s license pending
resolution of Plaintiffs’ motion for preliminary injunction. (Doc. 55
¶ 17.)
3 The exception to the former is Smoot, who apparently became able to
pay her fines and costs at some point after this lawsuit was filed.
Plaintiffs recognized at the hearing on the present motions that her
individual claims have become moot.    As to the latter, Plaintiffs’
counsel explained at the hearing that the state court waived Bonhomme-
Dicks’ fine for inability to pay at her initial appearance. However,
according to Bonhomme-Dicks, the judge told her that “the legislature
. . . prevented him from” waiving costs and proceeded to impose costs
in the amount of $388. (Doc. 40 ¶ 8.)

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had their licenses revoked, but eventually made the payments

sometime thereafter.          (Id.)    About 63,000 traffic defendants never

made their payments, and their licenses remain revoked.                 (Id.)

       On May 30, 2018, Johnson and Smoot initiated this lawsuit.

(Doc. 1.)       Plaintiffs claim that the DMV’s enforcement of section

20-24.1 violates the Fourteenth Amendment in three ways: (1) by

violating their equal protection and substantive due process right

not to     be    penalized    for     non-payment    without   the   State   first

determining that they were able to pay and willfully refused; (2)

by violating their procedural due process right to a hearing on

ability to pay prior to revocation; and (3) by violating their

procedural due process right to adequate notice.                 (Doc. 35 at 32–

38.)

       Plaintiffs contemporaneously moved for class certification

(Doc.    3)     and   for   preliminary    injunction    (Doc.   2),   but   later

withdrew them in order to file an amended complaint (Doc. 35) on

August     7,     2018,     adding     Yarborough     and    Bonhomme-Dicks     as

Plaintiffs.           Plaintiffs    then   filed    second   motions   for   class

certification (Doc. 36) and for preliminary injunction (Doc. 38).

The Commissioner answered the amended complaint (Doc. 43) and moved

for judgment on the pleadings (Doc. 46).                On March 13, 2019, the

court held a hearing on all outstanding motions, which are ready

for decision.



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II.   ANALYSIS

      A.     The Commissioner’s Motion for Judgment on the Pleadings

      The legal standard governing motions for judgment on the

pleadings is the same as that employed on motions to dismiss for

failure to state a claim under Federal Rule of Civil Procedure

12(b)(6).        Drager v. PLIVA USA, Inc., 741 F.3d 470, 474 (4th Cir.

2014).     “[A] complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on

its face.’”        Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).                   A claim is

facially plausible when the plaintiff “pleads factual content that

allows     the    court   to   draw   the       reasonable   inference    that   the

defendant is liable,” demonstrating “more than a sheer possibility

that a defendant has acted unlawfully.”                 Iqbal, 556 U.S. at 678

(citing Twombly, 550 U.S. at 556-57).

             1.      Subject Matter Jurisdiction

      The Commissioner first argues that the court lacks subject

matter jurisdiction over Plaintiffs’ claims under the Rooker-

Feldman doctrine. 4       Plaintiffs contend that the Commissioner reads


4 Defendants normally raise subject matter jurisdiction on a Rule
12(b)(1) motion to dismiss. However, “[o]bjections to subject-matter
jurisdiction . . . may be raised at any time.”         Henderson ex rel.
Henderson v. Shinseki, 562 U.S. 428, 434 (2011); see also Fed. R. Civ.
P. 12(h)(3) (“If the court determines at any time that it lacks subject-
matter jurisdiction, the court must dismiss the action.”). “[I]f a party
raises an issue of subject matter jurisdiction on his motion for judgment
on the pleadings, the court will treat the motion as if it had been
brought under Rule 12(b)(1).” Kelly v. United States, No. 7:10-CV-172-

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the doctrine too broadly and that it does not apply in this

instance.

      The Rooker-Feldman doctrine — so named because of the Supreme

Court’s foundational decisions in Rooker v. Fidelity Trust Co.,

263 U.S. 413 (1923), and District of Columbia Court of Appeals v.

Feldman, 460 U.S. 462 (1983) — states that federal district courts

may not sit in review of state court decisions.                      Although the

doctrine    was    construed    expansively       in    the   decades      following

Rooker,    the    Supreme   Court    has     since     clarified     the   “narrow”

circumstances in which it is applicable: “cases brought by state-

court    losers    complaining      of   injuries      caused   by     state-court

judgments rendered before the district court proceedings commenced

and   inviting     district    court     review      and   rejection       of   those

judgments.”       Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544

U.S. 280, 284 (2005).         Where a plaintiff “is not challenging the

state-court decision, the Rooker-Feldman doctrine does not apply.”

Davani v. Va. Dep’t of Transp., 434 F.3d 712, 718 (4th Cir. 2006).

      In the instant case, Plaintiffs do not challenge any judgment

of a North Carolina court.           The Commissioner’s argument to the

contrary is based on a misunderstanding of the statutory scheme at

issue, as evidenced by his repeated assertion that Plaintiffs are




FL, 2013 WL 5348455, at *3 (E.D.N.C. Sept. 23, 2013) (alteration in
original) (quoting Newbrough v. Piedmont Reg’l Jail Auth., No. 3:10CV867-
HEH, 2012 WL 169988, at *2 (E.D. Va. Jan. 19, 2012)).

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“asking this Court to prohibit DMV from complying with license

revocation orders issued by North Carolina courts.”                        (Doc. 47 at

11.) It is simply untrue that North Carolina courts issue “license

revocation orders” under the statutory scheme at issue here.

Instead, state courts “report to the [DMV] the name of any person

charged with a motor vehicle offense” who fails to pay a traffic

violation fine or cost.            N.C. Gen. Stat. § 20-24.2(a) (emphasis

added).       Upon receiving that “notice from [the] court,” it is the

DMV that issues a “[r]evocation order[],” which it then “mail[s]

or   personally       deliver[s]     to    the   person.”       Id.    §    20-24.1(a)

(emphasis added).

       The only state court judgment relevant to this process is the

underlying imposition of a traffic violation fine or cost, and

Plaintiffs expressly do not challenge that judgment.                       (Doc. 51 at

12.)    Plaintiffs’ claims do not in any way implicate the soundness

of the underlying traffic conviction and pecuniary imposition.                       A

finding by this court that the DMV cannot constitutionally revoke

Plaintiffs’ driver’s licenses for failure to pay a court-ordered

fine or cost without first determining their ability to pay would

not imply that the state court should not have imposed the fine or

cost in the first place.           See Stinnie v. Holcomb, 355 F. Supp. 3d

514,    524    (W.D.   Va.   2018)      (“Plaintiffs     do    not    contest    their

convictions or the fines and costs assessed by the state court.

Therefore,      the    outcome     of     this   case   will   not    affect     those

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judgments.” (citation omitted)). 5      Because a ruling for Plaintiffs

would not involve this court’s “review and rejection” of any state

court judgment, Exxon, 544 U.S. at 284, the Rooker-Feldman doctrine

does not bar Plaintiffs’ claims.        See Stinnie, 355 F. Supp. 3d at

523–24; Fowler v. Johnson, No. 17-11441, 2017 WL 6379676, at *3

(E.D. Mich. Dec. 14, 2017) (“Plaintiffs are not . . . challenging

the imposition of any fines, costs, or assessments . . . . Instead,

Plaintiffs   are   challenging    Defendant’s     revocation    of   their

driver’s licenses for failing to pay their traffic debt without

consideration of their willfulness or ability to pay.          The Rooker-

Feldman doctrine does not extend to Plaintiffs’ claims.”), appeal

filed, No. 17-2504 (6th Cir. Dec. 19, 2017).



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  The Stinnie court had previously dismissed the plaintiffs’ original
complaint under the Rooker-Feldman doctrine after finding that the
Virginia statute at issue directed “license suspension orders [to be]
issued by the state court.” Stinnie v. Holcomb, No. 3:16-cv-00044, 2017
WL 963234, at *12 (W.D. Va. Mar. 13, 2017); see Stinnie v. Holcomb, 734
F. App’x 858, 861 n.* (4th Cir. 2018). Even if the Stinnie court had
not found Rooker-Feldman inapplicable in its later ruling on an amended
complaint, see 355 F. Supp. 3d at 523–24, its former reasoning would be
inapposite to the North Carolina statute at issue here, under which state
courts do not issue revocation orders. See N.C. Gen. Stat. §§ 20-24.1,
20-24.2. Furthermore, the Commissioner’s representation that the Fourth
Circuit “affirm[ed] dismissal of [the Stinnie] Complaint on the grounds
that Plaintiffs’ claims were barred by the Rooker-Feldman doctrine” (Doc.
47 at 9) evinces a fundamental misunderstanding of the Fourth Circuit’s
ruling. The Fourth Circuit dismissed the appeal for lack of a “final,
appealable order,” expressly cautioning that its “discussion should not
be read to indicate that [it] would hold that the district court’s
analysis was free from error were [it] to consider the appeal on the
merits.” 734 F. App’x at 862–63 (internal quotation marks and brackets
omitted). Only Chief Judge Gregory reached the Rooker-Feldman issue,
noting in dissent that Rooker-Feldman “is an exceedingly narrow doctrine
that has no relevance to the facts of this case.” Id. at 868 (Gregory,
J., dissenting).

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       Consequently, the Commissioner’s reliance on Rooker-Feldman

to avoid this litigation is misplaced.

              2.     Sovereign Immunity

       The    Commissioner        next    makes    perfunctory       arguments       that

Plaintiffs’ claims are barred by the Eleventh Amendment: first,

that Plaintiffs’ claims impermissibly require the court to review

past state acts that do not amount to ongoing constitutional

violations,        and   second    that    the    Commissioner       himself    is    not

sufficiently connected with the allegedly unconstitutional acts to

be a proper defendant under Ex Parte Young, 209 U.S. 123 (1908).

Both contentions are unpersuasive.

       The    Eleventh    Amendment       generally      “confirms    the    sovereign

status of the States by shielding them from suits by individuals

absent their consent.”             Frew ex rel. Frew v. Hawkins, 540 U.S.

431, 437 (2004).         However, the Eleventh Amendment excepts from its

bar    “suits      for   prospective       injunctive      relief     against    state

officials acting in violation of a federal law.”                      Id. (citing Ex

Parte Young, 209 U.S. 123).               This exception has two components:

whether “(1) the violation for which relief is sought is an ongoing

one, and (2) the relief sought is only prospective.”                       Republic of

Paraguay v. Allen, 134 F.3d 622, 627 (4th Cir. 1998).                       As to the

first,    a    plaintiff     must    merely       show   that   he    is    “presently

experienc[ing the] harmful consequences of [the State’s] past

conduct” in order to properly claim an “ongoing violation[] of

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federally protected constitutional rights” sufficient to satisfy

Ex Parte Young.     Id. at 628; see also Coakley v. Welch, 877 F.2d

304, 306–07 & n.2 (4th Cir. 1989) (finding that a plaintiff’s claim

that he had been unconstitutionally fired alleged an “ongoing

violation” because his wrongful termination “continues to harm him

by   preventing    him   from   obtaining    the   benefits    of   [state]

employment”).     Furthermore, the answer to the second inquiry tends

to drive the answer to the first, as “the issue of whether a

violation is ‘ongoing’ [is] related to the issues of whether

prospective relief is appropriate, or whether the requested relief

would operate instead as an illegitimate award of retroactive

damages.”    Coakley, 877 F.2d at 307 n.2.     Ex Parte Young separately

requires an officer to have “some connection with the enforcement

of the [allegedly unconstitutional] act,” 209 U.S. at 157, before

he may be sued; the officer must have some “proximity to and

responsibility for the challenged state action,” as opposed to

mere “general authority to enforce the laws of the state.”             S.C.

Wildlife Fed’n v. Limehouse, 549 F.3d 324, 333 (4th Cir. 2008)

(emphasis and brackets omitted) (quoting Waste Mgmt. Holdings,

Inc. v. Gilmore, 252 F.3d 316, 331 (4th Cir. 2001)).

      Plaintiffs easily satisfy these requirements.           Although the

DMV’s revocation of some Plaintiffs’ driver’s licenses took place

in the past, those Plaintiffs continue to experience the harmful

consequences of that action so long as their licenses remain

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revoked.      Thus, although the DMV is “no longer giving [those

Plaintiffs]    daily     attention,”    its       allegedly     unconstitutional

license    revocations    “continue[]       to    harm”    those   Plaintiffs   by

“preventing    [them]     from   obtaining        the     benefits”   they   would

otherwise enjoy as license-holders.              Coakley, 877 F.2d at 807 n.2;

see also id. (“Cases from other circuits, as well as [the Fourth

Circuit], suggest that few, if any, suits are barred for failure

to allege an ‘ongoing violation’ . . . .”). 6 And the Commissioner’s

argument that he is not sufficiently connected to the enforcement

of section 20-24.1(a)(2) to be a proper defendant under Ex Parte

Young is based on the same mistaken argument addressed in the

court’s Rooker-Feldman analysis above: that “[t]he DMV simply

complies with revocation orders issued by state courts.”                 (Doc. 47

at 13–14.)    As previously explained, North Carolina courts do not

issue driver’s license revocation orders for failure to pay traffic




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  In some senses, the ongoing violation inquiry is merely another way of
getting to the prospective relief inquiry. See Coakley, 877 F.2d at 307
n.2. Relief that is truly prospective does not compensate a plaintiff
for past harm — it only prevents further harm. Thus, a finding that a
plaintiff has requested truly prospective relief from state-caused harm
in the present carries with it the connotation that the violation alleged
must be “ongoing” in the sense relevant to Ex Parte Young. See Verizon
Md., Inc. v. Pub. Serv. Comm’n, 535 U.S. 635, 645 (2002) (finding that
a plaintiff’s “prayer for injunctive relief . . . clearly satisfies [the]
straightforward inquiry” of “whether the complaint alleges an ongoing
violation of federal law and seeks relief properly characterized as
prospective” (internal quotation marks and brackets omitted)). In the
instant case, there is no serious argument that Plaintiffs’ requested
relief is not prospective.


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violation fines and costs; 7 the DMV, which the Commissioner heads,

issues those revocation orders.           See N.C. Gen. Stat. § 20-24.1(a);

Torre    Jessup:     DMV   Commissioner,      North   Carolina    Department    of

Transportation        (Feb.     5,   2019),     https://www.ncdot.gov/about-

us/our-people/leadership/Pages/torre-jessup.aspx                  (noting   that,

“[a]s commissioner, Torre Jessup oversees the daily operations of

the    N.C.   Division     of   Motor    Vehicles,    including    . . .    driver

licenses”).        As a result, the Eleventh Amendment presents no bar

to Plaintiffs’ claims. 8

              3.    Equal Protection and Substantive Due Process

       Turning to the merits, the Commissioner moves for judgment on

the    pleadings     on    Plaintiffs’    claim   that   revocation    of   their

driver’s licenses for failure to pay fines and costs without first

affirmatively determining their ability to pay violates their

equal protection and substantive due process rights under the

“fundamental fairness” doctrine enunciated in cases like Bearden

v. Georgia, 461 U.S. 660 (1983).           The Commissioner argues that the



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  The Commissioner has not persuasively explained why he would not have
a sufficient connection to the enforcement of section 20-24.1(a)(2) even
if he was merely enforcing revocation orders entered by state courts.
However, the court need not consider that counterfactual scenario.
8
  The Commissioner also argues that the complaint should be dismissed
because Plaintiffs’ requested relief would not redress their injury,
given the Commissioner’s alleged helplessness “to intervene” when “a
state court has entered a presumptively valid revocation order.” (Doc.
47 at 15.) As previously explained, the statutory scheme at issue in
this case directs the DMV, not state courts, to order license revocation.
See N.C. Gen. Stat. §§ 20-24.1, 20-24.2. The Commissioner’s argument
therefore fails.

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fundamental fairness doctrine does not apply to the statutory

scheme at issue in this case, which should be upheld instead under

the default rational basis standard.

       It has long been black-letter law that, absent the involvement

of     a    suspect   classification      or    fundamental   right,     statutes

challenged under the Fourteenth Amendment’s equal protection or

substantive due process guarantees are upheld so long as they have

a “rational basis.”          See U.S. v. Caroline Prods. Co., 304 U.S.

144, 152 & n.4 (1938); Colon Health Ctrs. Of Am., LLC v. Hazel,

733 F.3d 535, 547–48 (4th Cir. 2013).                  The bar for surviving

rational basis scrutiny is modest; as long as there is “any

reasonably conceivable state of facts that could provide a rational

basis” for the enactment, the statute must be upheld.                   F.C.C. v.

Beach Commc’ns, Inc., 508 U.S. 307, 313 (1993).

       Nevertheless, beginning with a plurality opinion in Griffin

v. Illinois, 351 U.S. 12 (1956) and running through (and beyond)

a more definitive treatment in Bearden, the Supreme Court has held

that “[d]ue process and equal protection principles converge” in

some contexts into a constitutional requirement of “fundamental

fairness” that calls for courts to make a more “careful inquiry

into       such   factors   as   the   nature   of   the   individual    interest

affected, the extent to which it is affected, the rationality of

the connection between legislative means and purpose, and the

existence of alternative means for effectuating the purpose.”

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Bearden, 461 U.S. at 665–66, 673 (internal quotation marks and

brackets omitted).             In Bearden itself, the Court applied this

inquiry to the question of whether state courts could revoke

probation and incarcerate an individual for failing to pay a fine

or restitution when the individual made bona fide efforts to pay

but     could       not,     ultimately    holding    that       incarceration       is

“fundamentally unfair” in that context unless the state court

determines there are no “alternate measures of punishment other

than imprisonment . . . adequate to meet the State’s interests.”

Id. at 672.           The only contexts in which the Supreme Court has

applied this fundamental fairness doctrine are those in which a

state has deprived persons of fundamental rights because of their

indigency       —    specifically,     incarcerating      them    or   denying      them

access to the courts when they cannot make a certain payment.                       See,

e.g.,    Griffin,       351    U.S.   12   (access   to   courts);       Williams    v.

Illinois, 399 U.S. 235 (1970) (incarceration); Tate v. Short, 401

U.S.     395        (1971)    (incarceration);       Bearden,      461      U.S.    660

(incarceration); M.L.B. v. S.L.J., 519 U.S. 102 (1996) (access to

courts); see also Tennessee v. Lane, 541 U.S. 509, 522–23 (2004)

(referring to “the right of access to the courts” as one of the

“basic    constitutional         guarantees,    infringements          of   which   are

subject to more searching judicial review”). 9


9 To the extent the Court in some of these access-to-courts cases also
considered the nature of the plaintiffs’ underlying interest in the

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      Plaintiffs    claim    that   the    fundamental   fairness    doctrine

applies to the statutory scheme at issue in this case, despite the

fact that there is no fundamental right or interest at issue,10

because Bearden in fact stands for the general principle that the

Fourteenth    Amendment     “prohibit[s]     the   punishment   of   indigent

people simply because of their poverty.”            (Doc. 51 at 20.)     This

construal of Bearden comes perilously close to an argument that

courts must apply a higher standard of scrutiny to statutory

classifications based on indigency — a principle the Supreme Court

has “repeatedly” rejected in favor of rational basis analysis.

Harris v. McRae, 448 U.S. 297, 323–24 (1980).            More importantly,

Plaintiffs have not proffered a single case from the Supreme Court

or Fourth Circuit in the sixty-plus years since Griffin in which

the fundamental fairness doctrine was applied to an alleged harm


substantive issue the plaintiffs wished to address in the courts, those
interests were also “fundamental.” See, e.g., Boddie v. Connecticut,
401 U.S. 371, 383 (1971) (right of access to courts is precondition of
divorce, “the adjustment of a fundamental human relationship”); M.L.B.,
519 U.S. at 121 (right of access to courts is necessary to allow
participation in “parental status termination,” which “is irretrievably
destructive of the most fundamental family relationship” (internal
quotation marks and brackets omitted)). Where the underlying substantive
issue did not implicate a “fundamental” interest, the court eschewed a
more searching inquiry in favor of the rational basis analysis.      See
M.L.B., 519 U.S. at 114–15 (discussing United States v. Kras, 409 U.S.
434 (1973), and Ortwein v. Schwab, 410 U.S. 656 (1973)).
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   Although Plaintiffs stress that driver’s licenses are “crucial” or
even “essential,” they do not argue that there is a fundamental right
to a driver’s license. (Doc. 51 at 4, 22); see also (Doc. 35 ¶ 121
(“Plaintiffs have a substantial interest in their driver’s licenses.”)).
Courts in similar cases have treated and rejected such an argument. See
Mendoza, 2018 WL 6528011, at *20; Fowler, 2017 WL 6379676, at *7–8.


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not involving fundamental rights or interests. 11          See Mendoza v.

Garrett, No. 3:18-cv-01634-HZ, 2018 WL 6528011, at *19 (D. Or.

Dec. 12, 2018) (“What all of these cases teach is that the

‘fundamental    fairness’    principles    of   due   process   and   equal

protection originating in Griffin have been applied when either

incarceration or access to the courts, or both, is at stake.”);

Fowler, 2017 WL 6379676, at *6–7 (“None of these cases establish

. . . that it is fundamentally unfair in a constitutional sense

. . . for a state to deprive a person of a property interest —

such as a driver’s license — because of the person’s inability to

pay a fine associated with that interest.”).             Notably, Bearden

itself    encouraged    courts   to    impose   “alternate    measures     of

punishment other than imprisonment” that would “meet the State’s

interests” in ways that did not result in incarceration.           461 U.S.

at 672.    Driver’s license revocation is just such an “alternate




11
   To the extent Plaintiffs may have suggested at the motions hearing
that Alexander v. Johnson, 742 F.2d 117 (4th Cir. 1984), is such a case,
on the idea that the Fourth Circuit applied Bearden to an “attorney fee
recoupment” statute, the court disagrees. The Alexander court did not
expressly rely on Bearden for anything other than its holding that “an
inmate violating any monetary requirement of his probation or restitution
regiment cannot be imprisoned if his non-compliance results from poverty
alone.” Alexander, 742 F.3d at 124; see also id. at 125–26. In their
briefing, Plaintiffs’ only citation for the proposition that the
fundamental fairness doctrine applies to any “imposition of adverse
consequences against indigent defendants solely because of their
financial circumstances” is to a “Statement of Interest” filed by the
United States in Stinnie. (Doc. 51 at 21.) However, that document does
not cite any case applying the fundamental fairness doctrine in any
context not involving incarceration or access to courts.


                                      17



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measure.” 12

      In sum, contrary to Plaintiffs’ contention, the fundamental

fairness doctrine does not apply to the indigency claim here, where

no fundamental right or interest is at stake.                    This leaves the

court to apply rational basis analysis, and section 20-24.1 easily

evinces    the      “constitutionally      minimal    level      of     rationality”

required.      Van Der Linde Housing, Inc. v. Rivanna Solid Waste

Auth., 507 F.3d 290, 295 (4th Cir. 2007).                Revocation of driver’s

licenses for failure to pay traffic violation fines or costs

serves, in the Commissioner’s words, to “impos[e] a motivation to

accomplish what an individual might otherwise be disinclined to

do” — here, to pay the fines and costs properly imposed on traffic

defendants. 13       (Doc.   47    at   20.)     There     is   no    argument      that

collection     of    monetary     exactions     is   not    a   legitimate       state

interest.        Instead, Plaintiffs argue that the DMV sweeps too

broadly: that revoking the licenses of all traffic defendants who

don’t   pay    their    fines     and   costs   irrationally         results   in    the

revocation of the licenses of some who cannot pay, and to whom any


12As discussed in more detail herein, North Carolina’s statutory scheme
also includes an express procedure by which traffic defendants can avoid
or undo license revocation for failure to pay a fine or cost if they
show that their failure to pay was not “willful” and that they are making
a “good faith effort to pay.” N.C. Gen. Stat. 20-24.1(b)(4), (b1).
13
   To reiterate, Plaintiffs expressly do not argue that the fines and
costs were improperly imposed on them in the first place, only that the
DMV should not revoke their driver’s licenses for failure to pay those
fines and costs without first determining that they are able to pay.


                                          18



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additional incentive to pay is ineffective. 14                But the rational

basis test does not require laws to be narrowly tailored to

accomplish the State’s ends.         See Van Der Linde, 507 F.3d at 295

(“The ‘rational’ aspect of rational basis review . . . is not an

invitation to scrutinize . . . the instrumental rationality of the

chosen means (i.e., whether the classification is the best one

suited to accomplish the desired result).”).                   “Neither may a

policy’s    rationality   be     judged    on   the   basis    of   its    wisdom,

fairness, or logic (or lack thereof).”          Id. at 293–94.       Since there

is a “reasonably conceivable state of facts,” Beach, 508 U.S. at

313,   under   which   section    20-24.1(a)(2)       provides      some   traffic

defendants with an efficacious incentive to pay fines and costs,

the law survives rational basis review.

       Because the fundamental fairness doctrine does not apply and

section 20-24.1 has a rational basis, Plaintiffs have not plausibly

alleged an equal protection and substantive due process claim.

Accordingly, the court will grant the Commissioner judgment on the

pleadings as to that claim.        The Commissioner presented no merits

argument for judgment on the pleadings as to Plaintiffs’ procedural

due process claims, however, and for that reason those claims




14
   Indeed, as Plaintiffs point out, revocation of a person’s driver’s
license may in some cases do more harm than good to the State’s cause,
given that losing the ability to drive can negatively impact a person’s
ability to earn money with which to pay their fines and costs.


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survive at this time. 15

      B.    Plaintiffs’ Motion for Class Certification and
            Appointment of Class Counsel

      Plaintiffs move to certify two classes under Federal Rule of

Civil Procedure 23(a) and (b)(2): the “Revoked Class,” composed of

everyone whose driver’s license has been revoked by the DMV for

failure to pay a traffic violation fine or cost, and the “Future

Revocation Class,” composed of everyone whose driver’s license

will be so revoked in the future.             Plaintiffs also move for

appointment of class counsel under Rule 23(g).           The Commissioner

opposes    certification,     challenging     whether   several    of      the

prerequisites to certification have been met.

      To be certified, a putative class must first satisfy the four


15
   At the motions hearing, the Commissioner initially represented that
he had moved for judgment on the pleadings on the merits as to Plaintiffs’
procedural due process claims. When pressed by the court to identify
where such an argument was made, counsel eventually admitted that the
Commissioner’s brief “do[es] not use the word procedural due process.”
While one sentence in the Commissioner’s “Statement of the Case” does
allege generally that section 20-24.1’s “procedural protections . . .
afford the Plaintiffs sufficient due process” (Doc. 47 at 3), this
solitary statement falls well short of the court’s requirement that
“[o]pening briefs filed with the Court shall contain . . . argument,
which shall refer to all statues, rules, and authorities relied upon.”
Local Rule 7.2(a). Plaintiffs’ responsive brief reflects a reasonable
understanding that such an argument was not made. (Doc. 51 at 20 n.4.)
Allowing the Commissioner to raise a merits argument for dismissal of
Plaintiffs’ procedural due process claims for the first time at the
motions hearing would have “undermine[d] the purpose of orderly briefing
and risk[ed] subjecting an opponent to an unfair disadvantage.” N.C.
Alliance for Transp. Reform, Inc. v. U.S. Dep’t of Transp., 713 F. Supp.
2d 491, 510 (M.D.N.C. 2010); see Lucas v. Henrico Cty. Sch. Bd., 822 F.
Supp. 2d 589, 600 n.10 (E.D. Va. 2011) (declining to address a basis for
dismissal “because it first arose during oral argument, because [the
other party] has not had a full and fair opportunity to respond, and
because the Court lacks the benefit of full briefing on the subject”).

                                     20



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requirements set out in Rule 23(a): “(1) numerosity of parties;

(2) commonality of factual and legal issues; (3) typicality of

claims and defenses of class representatives; and (4) adequacy of

representation.”            Gunnells v. Healthplan Servs., Inc., 348 F.3d

417, 423 (4th Cir. 2003).                Next, the putative class must show that

it is one of the three types of classes described in Rule 23(b).

Here, Plaintiffs assert that “the party opposing the class has

acted or refused to act on grounds that apply generally to the

class,       so     that        final    injunctive      relief     or     corresponding

declaratory relief is appropriate respecting the class as a whole.”

Fed. R. Civ. P. 23(b)(2).                  Nevertheless, district courts retain

“broad discretion” in deciding whether a class should be certified

and how that class should be defined.                      Roman v. ESB, Inc., 550

F.2d   1343,       1348     (4th    Cir.       1976).    “Merits    questions      may   be

considered to the extent — but only to the extent — that they are

relevant to determining whether the Rule 23 prerequisites for class

certification are satisfied.” Amgen Inc. v. Connecticut Ret. Plans

&   Trust    Funds,        568    U.S.    455,    466   (2013).      Otherwise,        “[a]n

evaluation of the probable outcome on the merits is not properly

part of the certification decision.”                     Id. (quoting 2003 Advisory

Committee Note on Rule 23(c)(1)).

       The        Commissioner          does     not    contest     the    adequacy      of

representation             or      the     putative       class’s        Rule     23(b)(2)

categorization,           and     the    court    independently     finds       that   these

                                                 21



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requirements are met.          The named Plaintiffs do not appear to have

interests that conflict with those of the class and have each

explained their commitment to the litigation.                   See (Docs. 4, 5,

40, 41, 63).         While Plaintiff Smoot appears to have paid her

traffic fines and costs, Plaintiff Yarborough has not and can

adequately represent the proposed Revoked Class.                        Plaintiffs’

counsel are adequate under Rule 23(a)(4) for the same reasons they

satisfy the Rule 23(g) standard, as discussed below.                       Finally,

Rule 23(b)(2) — which “was created to facilitate civil rights class

actions,” Thorn v. Jefferson-Pilot Life Ins. Co., 445 F.3d 311,

330 n.24 (4th Cir. 2006) — is satisfied because Plaintiffs seek

injunctive and declaratory relief and challenge the Commissioner’s

class-wide enforcement of section 20-24.1(a)(2).

       The   Commissioner          contests     numerosity,    commonality,      and

typicality.       Each will be addressed in turn.

             1.     Numerosity

       “There is no mechanical test for determining whether” the

number of potential plaintiffs in a given action is sufficient to

meet    Rule      23(a)(1)’s        requirement     that      joinder    would   be

“impracticable.”          Kelley v. Norfolk & W. Ry. Co., 584 F.2d 34, 35

(4th    Cir.      1978)     (per     curiam).       Instead,     the    numerosity

determination “depends on the particular facts of each case.”                    7A

Charles Alan Wright et al., Federal Practice and Procedure § 1762

(3d ed. 2018) (also noting that “no arbitrary rules regarding the

                                          22



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size of classes have been established by the courts”).            The Fourth

Circuit has previously certified classes of as few as eighteen

plaintiffs.    See Cypress v. Newport News Gen. & Nonsectarian Hosp.

Ass’n, 375 F.2d 648, 653 (4th Cir. 1967); see also Dameron v. Sinai

Hosp. of Baltimore, Inc., 595 F. Supp. 1404, 1408 (D. Md. 1984)

(“A class consisting of as few as 25 to 30 members raises the

presumption that joinder would be impractical.”).

       In this case, the Commissioner’s argument is not so much that

any specific number advanced by Plaintiffs is insufficient, but

that Plaintiffs’ numerosity evidence is too speculative.                This

argument attacks Plaintiffs’ reliance in their opening brief on a

September 26, 2017 email from a DMV employee stating that “[t]he

total number of Failure to Pay is 436,050” (Doc. 6-9), on the basis

that   the   email   “does   not   explain   the   time   frame    of   these

suspensions, or even if the [number] is referring to individuals”

(Doc. 48 at 7).      The Commissioner goes on to criticize Plaintiffs

for omitting any evidence concerning how many of these failure-

to-pay license revocations involve traffic defendants who “are low

income individuals.”     (Id.)

       The Commissioner’s concerns, however, are allayed by his own

evidence.    On March 13, 2019, the Commissioner filed the affidavit

of a North Carolina Department of Transportation employee stating

that in the three years prior to the lawsuit’s initiation, 62,788

traffic defendants failed to pay their traffic violation fines and

                                     23



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costs and have therefore had their driver’s licenses revoked. 16

(Doc. 62.)     This evidence is confined to a relevant timeframe and

clearly      refers    to     individual      traffic    defendants.        The

Commissioner’s protest that Plaintiffs have not supported their

“allegation that the proposed Revoked Class members are low income

individuals” (Doc. 48 at 7) is an attack on a straw man; Plaintiffs

have never made such an allegation.            Plaintiffs’ proposed classes

consist of “all individuals” whose driver’s licenses have been or

will be revoked under section 20-24.1(a)(2).             Even looking only to

the Commissioner’s evidence, then, Plaintiffs’ proposed Revoked

Class consists of at least 62,788 individuals.             As to the proposed

Future Revocation Class, the court may reasonably infer from the

size of the Revoked Class that it too is large.             See 1 William B.

Rubenstein, Newberg on Class Actions § 3:13 (5th ed. 2018) (courts

may    use   available      evidence   to    “make   commonsense   assumptions

regarding the number of putative class members”).              This evidence

is sufficient to show that Rule 23(a)(1)’s numerosity requirement

is met.

             2.    Commonality

       Rule 23(a)(2) “requires the plaintiff[s] to demonstrate that

the class members have suffered the same injury” in the sense that


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   Another 67,809 traffic defendants eventually paid their fines and
costs at some point after their license had already been revoked; 55,336
traffic defendants received a revocation order but paid their fines and
costs within the 60-day period before the revocation went into effect.
(Doc. 62.)

                                        24



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“[t]heir    claims   . . .   depend   upon   a   common   contention,”     the

determination of which “will resolve an issue that is central to

the validity of each one of the claims.”         Wal-Mart Stores, Inc. v.

Dukes, 564 U.S. 338, 350 (2011).             “[T]his provision does not

require that all the questions of law and fact raised by the

dispute be common,” just that any “dissimilarities between the

claims [do not] impede a common resolution.” Wright et al., supra,

§ 1763.

      The Commissioner does not address the seven common questions

of law and fact listed in Plaintiffs’ opening brief; 17 instead, he

argues that the proposed class members have not “suffered the same

injury” as Plaintiffs:

      Plaintiffs’ [sic] complain that without a driver’s
      license, they are forced to choose between going to work,
      getting   food  for   the   family,   attending   medical
      appointments, driving their kids to school, or driving
      on   a  revoked   license.      While   the   Plaintiffs’
      Declarations may provide evidence of their injuries,
      they do not provide evidence that any number of other
      people are facing the same injuries.

(Doc. 48 at 17–18 (citation and emphasis omitted).)            Once again,

the Commissioner misunderstands Plaintiffs’ claims.               The core

injury     Plaintiffs   assert   is    the   allegedly    unconstitutional

deprivation of their driver’s licenses under section 20-24.1, not

the practical effects of this revocation on their personal lives.



17
  One or two of these questions are rendered irrelevant by the court’s
dismissal of Plaintiffs’ equal protection and substantive due process
claim. The rest remain relevant.

                                      25



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While Plaintiffs do provide a litany of additional allegations

regarding the personal hardships attendant to license revocation

in what may be an attempt to underscore the seriousness and

sympathetic nature of their claims, these additional allegations

are not the constitutional injury Plaintiffs assert.                         In the

court’s view, the DMV’s enforcement of section 20-24.1 against the

named Plaintiffs and proposed class members provides sufficient

common      questions     of   fact    and    law   on    which    to   sustain     a

constitutional class action.

             3.     Typicality

       Rule 23(a)(3) requires that “the claims or defenses of the

representative parties are typical of the claims or defenses of

the class.” “The essence of the typicality requirement is captured

by the notion that ‘as goes the claim of the named plaintiff, so

go the claims of the class.’”           Deiter v. Microsoft Corp., 436 F.3d

461, 466 (4th Cir. 2006) (quoting Broussard v. Meineke Discount

Muffler Shops, Inc., 155 F.3d 331, 340 (4th Cir. 1998)).                    In order

to determine whether a named plaintiff’s “claims or defenses” are

typical of those of the proposed class, the court will frequently

have   to    undertake     some   investigation      of    “the   merits     of   the

plaintiff’s underlying claim.”           Dukes, 564 U.S. at 351.

       The Commissioner offers four reasons that the court should

decline     to    find   the   named   Plaintiffs’       claims   typical    of   the

proposed classes.

                                         26



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     First, as in the commonality context, the Commissioner argues

that Plaintiffs have not shown that the proposed class members are

similarly low-income.        (Doc. 48 at 11.)      As the court pointed out

in that context, the constitutional violations Plaintiffs assert

are not dependent on whether a given traffic defendant would be

able to successfully show inability to pay at an ability-to-pay

hearing.    It is the alleged lack of notice and a hearing prior to

revocation that forms the basis of Plaintiffs’ procedural due

process claims.     See Coe v. Armour Fertilizer Works, 237 U.S. 413,

424 (1915) (“To one who protests against the taking of his property

without due process of law, it is no answer to say that in his

particular case due process of law would have led to the same

result because he had no adequate defense upon the merits.”).

     Second, the Commissioner argues that “the relief sought by

Plaintiffs would require an individualized inquiry into [each]

driver’s eligibility for reinstatement” (Doc. 48 at 12), the idea

being that the driver’s licenses of some class members may be

revoked    on   additional    bases.        Although   objections   about   the

contours of any potential relief are more relevant to the Rule

23(b)(2) analysis than to typicality, compare Fed. R. Civ. P.

23(b)(2) (parties must show that “final injunctive relief or

corresponding declaratory relief is appropriate respecting the

class as a whole”) with Fed. R. Civ. P. 23(a)(3) (parties must

show that their “claims or defenses” are typical of the class),

                                       27



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the    Commissioner’s        concern    is    illusory       in    any    context.         As

Plaintiffs point out, if the court ultimately finds that the DMV’s

enforcement      of      section        20-24.1(a)(2)         is     and        has      been

unconstitutional,        the    court    can      order   the      DMV    to    annul     all

revocations within the class that were entered pursuant to that

provision.       It would remain for the DMV, not the court, to

investigate whether a given license should remain revoked on some

other basis or whether the license should be reinstated pending

provision of sufficient due process.

       Third,   the    Commissioner          argues   that    some       proposed     class

members may have received the ability-to-pay hearing that the named

Plaintiffs did not.            (Doc. 48 at 13.)              Although this factual

distinction, if it exists, might have created problems for the

typicality of an as-applied challenge, Plaintiffs clarify that

they “bring a facial challenge to Sections 20-24.1 and 20-24.2.”

(Doc. 50 at 10.)            To the extent that the Commissioner may have

understood Plaintiffs’ procedural due process claims to be as-

applied,     Plaintiffs’        clarification         assuages       his        typicality

concern.

       Fourth, and finally, the Commissioner argues that the claims

of some proposed Revoked Class members will be subject to a statute

of limitations defense that the claims of the named Plaintiffs do

not typify.          (Doc. 48 at 11.)             The Commissioner argues — and

Plaintiffs      do    not    contest     —    that    the     relevant         statute    of

                                             28



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limitations is three years.      See N.C. Gen. Stat. § 1-52(5); Love

v. Alamance Cty. Bd. of Educ., 757 F.2d 1504, 1506 & n.2 (4th Cir.

1985) (three-year statute of limitations applicable to 42 U.S.C.

§ 1983 actions in North Carolina); Nat’l Advert. Co. v. City of

Raleigh, 947 F.2d 1158, 1162 (4th Cir. 1991).          Since Plaintiffs

claim that the Constitution requires pre-deprivation notice and an

ability-to-pay hearing before a driver’s license may be revoked

under section 20-24.1(a)(2), and since the DMV notifies traffic

defendants of the day that the revocation order will go into

effect, each Plaintiff’s claim accrued at least by the day that

the DMV’s revocation order became effective.       See Ocean Acres Ltd.

P’ship v. Dare Cty. Bd. of Health, 707 F.2d 103, 107 (4th Cir.

1983) (“[Plaintiff’s] due process claims accrued when plaintiff

knew of or had reason to know of the alleged injury which is the

basis of its action.”).     Thus, the Commissioner argues, proposed

Revoked Class members whose driver’s licenses were revoked more

than three years prior to the filing of this action will be subject

to a statute of limitations defense not applicable to any of the

named Plaintiffs.

     Plaintiffs   respond   by   invoking   the   “continuing   violation

doctrine, which provides that the statute of limitations may be

tolled by a continuing unlawful . . . practice.”        Hall v. City of

Clarksburg, No. 1:14CV90, 2016 WL 5680218, at *4 (N.D. W. Va. Sept.

30, 2016).    In Plaintiffs’ view, the fact that their licenses

                                   29



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remain revoked indefinitely means that the statute of limitations

is also tolled indefinitely.

      While Plaintiffs’ view is not without superficial support,

see Va. Hosp. Ass’n v. Baliles, 868 F.2d 653, 663 (4th Cir. 1989)

(“[T]he   continued    enforcement    of   an   unconstitutional    statute

cannot be insulated by the statute of limitations.”), the Fourth

Circuit has clarified that “[a] continuing violation is occasioned

by continual unlawful acts, not continual ill effects from an

original violation,” Raleigh, 947 F.2d at 1166 (quoting Ward v.

Caulk, 650 F.2d 1144, 1147 (9th Cir. 1981)).           In the context of

the enforcement of allegedly unconstitutional laws, the question

is whether the particular enforcement challenged “is a single act,”

in which case “the statute begins to run at the time of the act,”

or whether the enforcement “does not occur at a single moment but

in a series of separate acts,” in which case “the limitations

period begins anew with each violation.”           Id. at 1167 (quoting

Perez v. Laredo Junior Coll., 706 F.2d 731, 733 (5th Cir. 1983)).

In the instant case, the DMV’s revocation of driver’s licenses is

a “single act” — the fact that licenses remain revoked thereafter

does not evince “a series of separate acts” in which the DMV

revokes the driver’s licenses anew each day. 18             See id. (“The


18
   Plaintiffs argue that the DMV’s website, which reminds traffic
defendants   that   their   driver’s   licenses   will   remain   revoked
“indefinitely until [they] have complied with [their] case,” shows that
the Commissioner “is continuing to enforce th[e] illegal statute” against
them. (Doc. 50 at 8 & n.3.) A notice of this type is “not a new wrongful

                                     30



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restriction on use . . . occurred upon enactment of the ordinance.

No City action since then has added to [the plaintiff’s] alleged

injury.”).       As a result, it does not appear that the continuing

violation doctrine would save the claims of proposed Revoked Class

members whose licenses were revoked more than three years prior to

filing. 19     This is a problem for typicality.       See Kirkman v. N.C.

R.R. Co., 220 F.R.D. 49, 53 (M.D.N.C. 2004).

       Nevertheless, as Plaintiffs indicate, there is little reason

why    a     solitary   typicality   issue     applicable   to   an   easily-

identifiable and excludable group of proposed class members should

preclude certification altogether.           Instead, the court will simply

exercise its discretion to define the proposed Revoked Class to

include only those proposed class members within the three-year

limitations period: those drivers whose licenses were revoked on




act, but merely a reminder of the restriction” imposed at the time of
the original alleged violation. Raleigh, 947 F.2d at 1167. Since the
DMV’s website is not “add[ing] to [Plaintiffs’] alleged injury,” each
time they view it, it does not evince continuing “separate acts”
sufficient to invoke the continuing violation doctrine. Id.
19
  At first glance, the court’s conclusion that there is no “continuing
violation” in the statute of limitations context may appear in tension
with its earlier conclusion that there is an “ongoing violation” for
purposes of the Ex Parte Young analysis. See Part II.A.2, supra. But
the similarity of these shorthand terms belies a fundamental difference
in the underlying doctrines: the “continuing violation” exception to
statutes of limitations “is occasioned by continual unlawful acts, not
continual ill effects from an original violation,” Raleigh, 947 F.2d at
1166, whereas the “ongoing violation” requirement of Ex Parte Young is
satisfied by “presently experienced harmful consequences of past
conduct.” Allen, 134 F.3d at 628.


                                      31



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or after May 30, 2015. 20     See Roman, 550 F.2d at 1348 (noting the

district court’s broad discretion in how to define a class).

            4.    Certification

      Having resolved the Commissioner’s objections, and upon its

own investigation of the requirements of Rule 23(a) and (b)(2),

the court finds that class certification is warranted.           The court

will therefore certify the following two classes:

      Revoked Class: All individuals whose driver’s licenses
      were revoked by the DMV on or after May 30, 2015, due to
      their failure to pay fines, penalties, or court costs
      assessed by a court for a traffic offense, and whose
      driver’s licenses remain so revoked. 21

      Future Revocation Class: All individuals whose driver’s
      licenses will be revoked in the future by the DMV due to
      their failure to pay fines, penalties, or court costs
      assessed by a court for a traffic offense.

As noted, the court’s certification of these classes is without

determination of the ultimate merits of Plaintiffs’ remaining

claims.




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  The Commissioner suggests that the cut-off date should be three years
prior to the filing of the amended complaint. (Doc. 47 at 22.) But
since the amended complaint asserts claims arising out of the conduct
set out in the original complaint, the amended complaint relates back
to the original complaint. Fed. R. Civ. P. 15(c)(1)(B).
21
  Although Plaintiffs’ proposed class is not expressly limited to those
individuals whose licenses remain revoked, Plaintiffs’ admission at the
hearing that Smoot’s claims have been mooted by her successful payment
of her traffic fines and fees evinces such an understanding. Moreover,
Plaintiffs have not explained how drivers whose licenses have been
reinstated would be victims of any “ongoing violation” under Ex Parte
Young.

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             5.    Appointment of Class Counsel

        Plaintiffs also move for appointment of class counsel under

Rule 23(g), which requires that the court consider the following:

        (i) the work counsel has done in identifying or
        investigating potential claims in the action; (ii)
        counsel’s experience in handling class actions, other
        complex litigation, and the types of claims asserted in
        the action; (iii) counsel’s knowledge of the applicable
        law; and (iv) the resources that counsel will commit to
        representing the class[.]

Fed. R. Civ. P. 23(g)(1)(A).         In sum, “[c]lass counsel must fairly

and adequately represent the interests of the class.”                 Fed. R.

Civ. P. 23(g)(4).

        Plaintiffs are represented by Samuel Brooke, Kristi Graunke,

Danielle Davis, and Emily Early of the Southern Poverty Law Center

(“SPLC”); Christopher Brook, Cristina Becker, and Sneha Shah of

the North Carolina ACLU (“NC-ACLU”); Nusrat Choudhury and R. Orion

Danjuma of the national ACLU (“ACLU”); and Jeffery Loperfido of

the Southern Coalition for Social Justice (“SCSJ”).                Plaintiffs

have filed the declaration of Samuel Brooke, in which he summarizes

the    extensive   civil    rights    and   class    action   experience    and

accomplishments      of   these   attorneys    and   their    organizations. 22

(Doc.     6.)        Defendants      have     not    disputed     Plaintiffs’

characterization of their attorneys as experienced, knowledgeable,



22
  Brooke does not discuss Loperfido’s qualifications, since he joined
the case at a later date. (Doc. 42.) However, the court is familiar
with the SCSJ from prior litigation, and Loperfido’s appointment to the
large team of proposed class counsel is not opposed.

                                       33



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and capable of investing sufficient resources into this case.

      The court has reviewed the requirements of Rule 23(g) and

concludes    that   Plaintiffs’    proposed    class   counsel   are   well

qualified to represent the two classes in this case.          Accordingly,

Plaintiffs’ SPLC, NC-ACLU, ACLU, and SCSJ counsel will be appointed

class counsel.

      C.     Plaintiffs’ Motion for Preliminary Injunction

      Finally, Plaintiffs move for preliminary injunction pursuant

to Federal Rule of Civil Procedure 65: 23

      (1) to enjoin Section 20-24.1(a)(2) and (b)(3)–(4); (2)
      to bar the DMV from revoking licenses for non-payment
      under Section 20-24.1(a)(2); and (3) to lift current
      license revocations entered under Section 20-24.1(a)(2)
      and reinstate those licenses without charging a
      reinstatement fee if there are no other bases for the
      revocation — pending the ultimate determination of the
      merits of Plaintiffs’ claims.

(Doc. 39 at 8.)     The Commissioner opposes the motion primarily on

the ground that Plaintiffs are not likely to succeed on the

merits. 24




23
   At the motions hearing, Plaintiffs expressed a desire for “a
simultaneous ruling on both the motion for preliminary injunction and
the motion for class certification” such that the court’s ruling on the
motion for preliminary injunction would apply class-wide.
24
   The Commissioner uses the terms “temporary restraining order” and
“preliminary injunction” interchangeably throughout his response brief,
including an argument that Plaintiffs’ “motion for a preliminary
injunction should be denied” because “reinstatement of Plaintiff[s’]
licenses would go well beyond the intended purpose of temporary
restraining orders under [Federal Rule of Civil Procedure] 65(b).” (Doc.
45 at 9.) Plaintiffs have not moved for a temporary restraining order,
nor is Rule 65(b) relevant to their preliminary injunction motion.

                                     34



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     “A plaintiff seeking a preliminary injunction must establish

that he is likely to succeed on the merits, that he is likely to

suffer irreparable harm in the absence of preliminary relief, that

the balance of equities tips in his favor, and that an injunction

is in the public interest.”      Winter v. Nat’l Res. Def. Council,

Inc., 555 U.S. 7, 20 (2008).     It is not enough for a plaintiff to

satisfy some factors but not others; “each preliminary injunction

factor [must] be satisfied as articulated.”        Pashby v. Delia, 709

F.3d 307, 320 (4th Cir. 2013) (internal quotation marks omitted);

Mountain Valley Pipeline, LLC v. W. Pocahontas Props. Ltd. P’ship,

___ F.3d ___, 2019 WL 1140648, at *5 (4th Cir. Mar. 13, 2019).            As

to the first factor, “plaintiffs need not show a certainty of

success,” but must “make a clear showing that they are likely to

succeed at trial.”     Pashby, 709 F.3d at 321 (internal quotation

marks omitted).    Because the court has determined that Plaintiffs’

equal protection and substantive due process claim should be

dismissed pursuant to the Commissioner’s motion for judgment on

the pleadings, only Plaintiffs’ claims asserting a violation of

procedural due process are considered here.

          1.      Likelihood of Success on the Merits

                  a.   Opportunity to be Heard

     Plaintiffs argue that due process requires the DMV to hold an

ability-to-pay hearing in every case prior to revoking a traffic

defendant’s driver’s license under section 20-24.1(a)(2).                The

                                   35



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Commissioner argues that no such hearing is required.

     “Procedural due process imposes constraints on governmental

decisions    which    deprive   individuals     of    liberty   or     property

interests within the meaning of the Due Process Clause of the Fifth

or Fourteenth Amendment.”       Mathews v. Eldridge, 424 U.S. 319, 332

(1976)    (internal   quotation    marks    omitted).      An   individual’s

property interest in his or her driver’s license is protected by

the Due Process Clause.         See Bell v. Burson, 402 U.S. 535, 539

(1971) (“Once licenses are issued . . . [they] are not to be taken

away without that procedural due process required by the Fourteenth

Amendment.).    “The fundamental requirement of due process is the

opportunity to be heard ‘at a meaningful time and in a meaningful

manner.’”    Mathews, 424 U.S. at 333 (quoting Armstrong v. Manzo,

380 U.S. 545, 552 (1965)).        The question of what form of hearing

is required — including the “question . . . of timing,” Dixon v.

Love, 431 U.S. 105, 112 (1977) — is addressed through consideration

of the following three factors:

     First, the private interest that will be affected by the
     official action; second, the risk of an erroneous
     deprivation of such interest through the procedures
     used, and the probable value, if any, of additional or
     substitute procedural safeguards; and finally, the
     Government’s interest, including the function involved
     and the fiscal and administrative burdens that the
     additional or substitute procedural requirement would
     entail.

Mathews, 424 U.S. at 335.

     In   the   instant   case,   the     statute    provides   that    traffic

                                     36



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defendants may “demonstrate[] to the court that [their] failure to

pay the penalty, fine, or costs was not willful and that [they

are] making a good faith effort to pay or that the penalty, fine,

or costs should be remitted.”         N.C. Gen. Stat. § 20-24.1(b)(4).

If a traffic defendant makes such a demonstration, the court

notifies   the   DMV,    which   “shall    .    .   .    delete[]”   any    pending

revocation order or “restore the person’s license” if revocation

has already become effective.        Id. § 20-24.1(b), (c).          The statute

also lays out a procedure for making this determination: “Upon

motion of a defendant, the court must order that a hearing or trial

be heard within a reasonable time.             Id. § 20-24.1(b1).

     In Plaintiffs’ view, this procedure is insufficient because

it requires traffic defendants to move for hearing, rather than

affirmatively mandating that a pre-revocation hearing actually be

held in every case.       In order to evaluate Plaintiffs’ claims that

section 20-24.1 fails to provide traffic defendants with due

process, the court must determine what process is due.

     As to the first Mathews factor — the private interest at stake

— the Supreme Court has previously held that a “driver’s interest

. . . in continued possession and use of his license . . . is a

substantial one.”       Mackey v. Montrym, 443 U.S. 1, 11 (1979).               And

the court has no reason to doubt Plaintiffs’ contention that, for

many North Carolinians, the loss of a driver’s license negatively

impacts    individuals’    ability    to   get      to    work,   make     doctor’s

                                     37



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appointments, go grocery shopping, and more.

      Nevertheless,     “the   Court    has   expressly      held    that   the

[private] interest [in a driver’s license] is not so great as to

require departure from the principle that an evidentiary hearing

is   not   ordinarily    required   prior     to   adverse    administrative

action.”     Tomai-Minogue v. State Farm Mut. Auto. Ins. Co., 770

F.2d 1228, 1235 (4th Cir. 1985) (citing Dixon, 431 U.S. at 113).

Moreover, the Supreme Court has stated that courts should consider

“[t]he duration of any potentially wrongful deprivation of a

property interest” insofar as it relates to the “timeliness of the

postsuspension review available to a suspended driver,” and that

this consideration “is an important factor in assessing the impact

of official action on the private interest involved.”               Mackey, 443

U.S. at 12 (emphasis added); see also Fusari v. Steinberg, 419

U.S. 379, 389 (1975).      In the present case, the fact that section

20-24.1(b1) guarantees traffic defendants the opportunity to have

a hearing “within a reasonable time” of moving for one lessens

“the impact of official action” on Plaintiffs’ interests. 25 Mackey,

443 U.S. at 12.

      In sum, while the court certainly “do[es] not disparage the



25
  As discussed in footnote 33, infra, Plaintiffs have not provided the
court with any way to determine how long “a reasonable time” under
section 20-24.1(b1) might be in this context. Since Plaintiffs bear the
burden at the preliminary injunction stage of showing they are likely
to succeed on the merits, the court will not count this uncertainty in
their favor.

                                       38



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importance       of    a   driver’s     license”         to     Plaintiffs,        and      indeed

recognizes the hardships often attendant to the loss of a driver’s

license, these considerations do not serve to overcome binding

precedent holding that the private interest in driver’s licenses

is insufficient to mandate a pre-revocation evidentiary hearing.

Tomai-Minogue, 770 F.2d at 1235.

      The   second         Mathews    factor        is   “the    risk   of    an       erroneous

deprivation of [Plaintiffs’] interest[s] through the procedures

used, and the probable value, if any, of additional or substitute

procedural safeguards.”               424 U.S. at 335.               In this case, the

threshold    inquiry          is     whether    the       revocation         of    a     traffic

defendant’s driver’s license for failure to pay a fine or cost the

traffic defendant was unable to pay is in fact “an erroneous

deprivation”          under   Mathews.          Given      that    there      is       no   equal

protection or substantive due process right not to have one’s

driver’s license revoked for failure to pay without an ability-

to-pay determination, the DMV’s revocations cannot be “erroneous”

in that regard.            See Mendoza, 2018 WL 6528011, at *25 (finding

“little risk of erroneous deprivation” where plaintiffs argued

that license revocation without an ability-to-pay determination

violated    their       “fundamental      . . .          constitutional       right         to    an

indigency determination,” given the court’s conclusion that there

is   no   such    right       under    equal        protection     or   substantive              due

process).

                                               39



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       The more difficult question is whether the North Carolina

legislature’s decision to include a provision allowing traffic

defendants to avoid or undo license revocation by showing that

their “failure to pay . . . was not willful and that [they are]

making   a   good   faith   effort   to     pay,”   N.C.   Gen.    Stat.    §   20-

24.1(b)(4), shows that the legislature did not intend license

revocation to take place when traffic defendants could not pay,

thus   making   such    revocations       “erroneous   deprivations”         under

Mathews.     Plaintiffs argue that the answer must be yes under Bell

v. Burson, 402 U.S. 535 (1971), in which the Supreme Court found

that Georgia could not deny pre-revocation “consideration of an

element essential [under the statutory scheme] to the decision

whether licenses . . . shall be suspended.”                Id. at 542.          The

statutory scheme at issue in Bell required uninsured drivers

involved in traffic accidents to “post[] security to cover the

amount of damages claimed by aggrieved parties in reports of the

accident” or else face license suspension.             Id. at 536.         It also

allowed drivers to avoid or undo license suspension if, “prior to”

or “after suspension has been declared, [there is] a release from

liability or an adjudication of non-liability” for the accident.

Id. at 541.         “Since the statutory scheme makes liability an

important    factor    in   the   State’s    determination    to    deprive     an

individual of his license[],” wrote the Bell Court, “the State may

not, consistently with due process, eliminate consideration of

                                      40



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that factor in its prior hearing.” 26           Id.; see also Conn. Dep’t of

Pub. Safety v. Doe, 538 U.S. 1, 8 (2003) (“Plaintiffs who assert

a right to a hearing under the Due Process Clause must show that

the facts they seek to establish in that hearing are relevant under

the statutory scheme.”).

       The Commissioner responds that the better analogue on this

factor is Dixon v. Love, 431 U.S. 105 (1977), in which the Supreme

Court found that there was little risk of erroneous deprivation

absent a pre-deprivation hearing where Illinois suspended driver’s

licenses for accumulation of too many “points” assigned for traffic

violations.        Id. at 107–08, 113–14.       Crucial to the Dixon Court’s

treatment of this Mathews factor, however, was that the driver’s

only potential argument at his requested hearing would be a dubious

plea    for   the     Secretary    of   State    to   “depart    from   his   own

regulations” and “show leniency.” 27            Id. at 114.       There was no

assertion     in    Dixon   that   Illinois     had   intended    a   “leniency”

determination to be relevant at all to license revocation, much

less made it “an important factor in the State’s determination to

deprive an individual of his license[],” Bell, 402 U.S. at 541. 28


26Georgia already provided a hearing under the statutory scheme at issue
in Bell, but it “exclude[d] consideration of the motorist’s fault or
liability for the accident” at that hearing. 402 U.S. at 536.
27
  As to the possibility of “clerical error,” the Dixon Court found that
“written objection” sufficed to “bring a matter of that kind to the
Secretary’s attention.” 431 U.S. at 113.
28
     In a footnote, Dixon briefly discussed a slightly more analogous

                                        41



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     As a result, Dixon’s “erroneous deprivation” analysis does

not preclude Bell’s relevance to a case, like this one, where

Plaintiffs do cite a clear statutory basis for the issue they wish

to address at a hearing.          Applying Bell, the court finds that

ability   to   pay   is   “an   important   factor”   in   North   Carolina’s

statutory scheme much as accident liability was in the Georgia

statutory scheme at issue in Bell.            In both cases, the statute

allows drivers to utilize the exception to revocation both “prior

to” or “after” revocation takes place.          Bell, 402 U.S. at 541; see

N.C. Gen. Stat. § 20-24.1(b), (c).          In both cases, the “important”

nature of the relevant exception is shown through the statutory

mandate that “no suspension [be] worked” under its provisions if

the exception is satisfied.        Bell, 402 U.S. at 541; see N.C. Gen.

Stat. § 20-24.1(b), (c).         In sum, because section 20-24.1 makes

inability to pay an express exception to revocation, the revocation

of a driver’s license under that statute despite inability to pay

would constitute an “erroneous deprivation” under Mathews.             Bell,

402 U.S. at 541; 29 see Doe, 538 U.S. at 8.


“erroneous deprivation” argument: that revoking a driver’s license when
the driver qualified for a “restricted permit” under a statutory
“hardship exception[]” would be an “erroneous deprivation.” 431 U.S.
at 114 n.10. However, the Court found that such a revocation would not
be erroneous because the Illinois statute manifestly “contemplate[d]
relief only after the initial decision to suspend or revoke is made.”
Id. (emphasis added). This reasoning does not apply in the instant case
because the statute plainly contemplates relief both before and after
revocation. Compare N.C. Gen. Stat. § 20-24.1(b) with id. § 20-24.1(c).
29 Bell did not use the phrase “erroneous deprivation,” which was coined

in Mathews five years later as part of the establishment of a more

                                      42



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       Nevertheless, the question of whether such revocations are

actually erroneous is only the threshold inquiry under the second

Mathews factor.     Having made this determination, the court must

now consider the extent to which the statutory procedures (or lack

thereof)   increase   or   mitigate    the    “risk”     of    those     erroneous

deprivations.      Mathews,   424   U.S.     at   335.        It   is    here   that

Plaintiffs falter, as they have not persuasively argued that the

hearing already provided for by section 20-24.1(b1) fails to

substantially     alleviate   the   risk     of   erroneous        deprivations.

Plaintiffs only address this crucial opportunity for a hearing

once in their briefing on this issue, and their sole reference is

to say that “[r]elief from indefinite license revocation is . . .

conditioned on the individual knowing about, and affirmatively

seeking, a hearing on ability to pay, which is entirely undermined

by the insufficient notice the DMV sends the driver.”                   (Doc. 39 at

23.)    This is a conflation of issues, as there is a separate

standard applicable to the issue of whether the State has provided

sufficient notice of the opportunity for a hearing under the Due

Process Clause.    See Mullane v. Cent. Hanover Bank & Tr. Co., 339

U.S. 306, 314 (1950) (requiring “notice reasonably calculated,

under all the circumstances, to apprise interested parties of the


comprehensive procedural due process test. While Mathews and later cases
“represent[] some shift from the approach earlier followed by the Court
in Bell,” Tomai-Minogue, 770 F.2d at 1235, the Supreme Court has repeated
Bell’s reasoning on this specific point well into the Mathews era. See
Doe, 538 U.S. at 8.

                                      43



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pendency of the action and afford them an opportunity to present

their objections”).

     This same conflation of issues appears to be what undergirds

Plaintiffs’ general theory that the State must affirmatively hold

an ability-to-pay hearing before revocation in every case whether

or not the particular traffic defendant wants it.                 At the hearing,

Plaintiffs’ counsel argued that the section 20-24.1(b1) hearing

was insufficient under due process because traffic defendants

“don’t know about it” and “don’t realize they can” get an ability-

to-pay hearing if they ask for one.                Again, this argument does not

relate to whether section 20-24.1 provides an opportunity for a

hearing, but rather whether the State has provided the “notice

required by the Due Process Clause . . . to ensure that the

opportunity for a hearing is meaningful.”                City of West Covina v.

Perkins, 525 U.S. 234, 240 (1999) (emphasis added).                         Indeed,

holding notice constant, Plaintiffs would be no better off under

their own reasoning if North Carolina mandated ability-to-pay

hearings    in    every    case   prior       to    revocation,    since    traffic

defendants would still not “know about it.”

     To    be    sure,    the   notice    requirement       of    due   process   is

“obviously a vital corollary to . . . the right to be heard.”

Schroeder v. City of New York, 371 U.S. 208, 212 (1962).                   The court

will fully address Plaintiffs’ notice arguments on their merits

below, in the context of Plaintiffs’ separately-pleaded notice

                                         44



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claim. 30   But as to the issue whether the section 20-24.1(b1)

hearing itself is sufficient to address the risk of erroneous

deprivations, Plaintiffs’ arguments as to this Mathews factor

provide little basis for their theory that North Carolina must

actually hold an ability-to-pay hearing in every case.            In cases

in which the Due Process Clause has been found to require pre-

revocation process before a person is deprived of a property

interest, it has generally been found to require only that an

“opportunity for [a] hearing” be provided, Mullane, 339 U.S. at

313, not that a hearing be actually held in every case. 31         In fact,

although Plaintiffs cite a three-judge panel decision of this

district as allegedly “affirming [a] statute requiring [a] hearing

before suspension” (Doc. 39 at 23), that case actually states that

the Due Process Clause requires only that the State hold a hearing

for licensees who ask for one: “[I]f the state provides upon

request [a hearing] at which the licensee has a fair opportunity


30
  Even if the court were to consider the adequacy of the notice provided
to traffic defendants as part of the “opportunity to be heard” inquiry,
it would find that notice sufficient for the same reasons explained in
part II.C.1.b. of this opinion.
31To the extent that Bell could be read otherwise, the Fourth Circuit
has stated that “[t]he Mathews test, as adopted in Dixon for driver’s
license deprivation claims, represents some shift from the approach
earlier followed by the Court in Bell, which mandated a pre-deprivation
hearing.” Tomai-Minogue, 770 F.2d at 1235. Moreover, the Bell Court
had no cause to distinguish between holding pre-deprivation hearings in
every case and providing a pre-deprivation opportunity for a hearing,
since the State in Bell was already holding pre-deprivation hearings in
every case. The problem in Bell was that drivers were disallowed from
addressing a statutorily material issue at that pre-deprivation hearing.


                                     45



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to    [make   his   case],     then   due    process   will   surely   have   been

satisfied.” Jones v. Penny, 387 F. Supp. 383, 395 (M.D.N.C. 1974);

see also Mackey, 443 U.S. at 18 (equating giving drivers “[a]

presuspension hearing” with giving drivers the ability to “demand

a presuspension hearing”).            And Plaintiffs make no argument that

the    actual    manner   in   which   a     section   20-24.1(b1)     hearing   is

conducted is deficient in some way — indeed they cannot, since no

named Plaintiff has invoked his or her section 20-24.1(b1) right

to a hearing. 32

       In sum, the court finds that section 20-24.1(b1)’s mandate

that traffic defendants be provided a hearing “within a reasonable

time” of moving for one substantially alleviates, and may very

well eliminate, the risk of erroneous deprivations under the

statute. 33     As a result, the second Mathews factor does not command


32
   While Plaintiffs’ counsel represented at the motions hearing that
Bonhomme-Dicks told the state court at her initial traffic appearance
that she was unable to pay, this exchange appears to have taken place
prior to any fine or costs being imposed in the first place.       As a
result, the state court appears to have interpreted it as a challenge
to the imposition of a fine or costs as punishment for the traffic
offense, concluding that it would not impose a fine but would impose
costs.   As Plaintiffs stress elsewhere, they do not challenge the
original imposition of fines or costs for traffic violations; they
challenge only the license revocations for a subsequent failure to pay
those fines or costs. It does not appear that Bonhomme-Dicks exercised
her statutory right to move after the imposition of costs for a section
20-24.1(b1) hearing to show that her subsequent “failure to pay . . .
was not willful” and that she was “making a good faith effort to pay,”
N.C. Gen. Stat. 20-24.1(b)(4).
33
  To the extent Plaintiffs contend that the “reasonable time” allowed
for in the statute would not always guarantee the movant a hearing prior
to the deprivation, they have given the court no reason to think that
it does not. Traffic defendants are given 40 extra days to pay their

                                            46



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that additional process be required under the Due Process Clause.

     As to the third and final Mathews factor — the governmental

interest at stake — the Supreme Court has specifically recognized

in the driver’s license revocation context that “the substantial

public interest in administrative efficiency would be impeded by

the availability of a pretermination hearing in every case.”

Dixon, 431 U.S. at 114; see also Mackey, 443 U.S. at 18 (increasing

the number of pre-revocation hearings would “impose a substantial

fiscal and administrative burden on the Commonwealth”).         This sort

of governmental interest “is not a controlling weight” in the

Mathews analysis; however, “the Government’s interest, and hence

that of the public, in conserving scarce fiscal and administrative



fines and costs before the court notifies the DMV of their failure to
pay, see N.C. Gen. Stat. § 20-24.2(a)(2), and another 60 days after the
DMV sends the revocation order before revocation becomes effective, see
id. § 20-24.1(a). No named Plaintiff moved for a section 20-24.1(b1)
hearing at any point during this 100-day window, nor does the court have
any information on how any North Carolina court has ever treated such a
motion. A preliminary injunction is an “extraordinary remedy,” and it
is up to Plaintiffs to affirmatively “establish that [they are] likely
to succeed on the merits.” Winter, 555 U.S. at 20, 22. Any contention
that North Carolina courts would fail in a meaningful number of cases
to provide a statutory pre-revocation hearing within that 100-day window
if one were timely requested is purely speculative on this record.
Moreover, even if some traffic defendants experience brief license
revocation before their hearing takes place, the Fourth Circuit has found
that where the “possible causes for erroneous deprivation” of a driver’s
license in a small number of cases “are all remediable in [a] post-
deprivation [opportunity to be heard],” the Due Process Clause does not
require additional process to ensure that no “temporary inconvenience”
is caused by the temporary revocation. Tomai-Minogue, 770 F.2d at 1235;
see also id. at 1235–36 (“Where an adverse judgment has not been
satisfied by a motorist, Virginia has opted to suspend the license now
and discuss the matter later. We decline to undercut that legitimate
choice by requiring the taking to be later and the talking to be first.”).


                                    47



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resources is a factor that must be weighed.”          Mathews, 424 U.S. at

348.

       Together, the substantial public interest at issue and the

fact   that    section   20-24.1(b1)    already    mitigates   the   risk   of

erroneous     deprivations   by   providing   an   ability-to-pay    hearing

“within a reasonable time” to anyone who requests it weigh against

a finding that North Carolina must provide additional process.

And as previously noted, “the [Supreme] Court has expressly held

that the [private] interest [in a driver’s license] is not so great

as to require departure from the principle that an evidentiary

hearing is not ordinarily required prior to adverse administrative

action.”      Tomai-Minogue, 770 F.2d at 1235 (citing Dixon, 431 U.S.

at 113); 34 see also Mackey, 443 U.S. at 12 (burden on private

interest in driver’s license lessened when “postsuspension review

available to a suspended driver” is “timel[y]”).               As a result,

Plaintiffs have not shown that they are likely to succeed on their

“opportunity to be heard” procedural due process claim, and the

court therefore declines to grant a preliminary injunction on that

basis.   Winter, 555 U.S. at 20 (“A plaintiff seeking a preliminary

injunction must establish that he is likely to succeed on the



34
  While Dixon’s reasoning on what constitutes an “erroneous deprivation”
and “the important public interest in safety on the roads and highways”
is not applicable here, the opposite is true of its discussion of “[t]he
private interest . . . [in] the granted license to operate a motor
vehicle” and “the substantial public interest in administrative
efficiency.” 431 U.S. at 113–14.

                                       48



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merits . . . .”).

                   b.    Notice

      Plaintiffs’ final claim, and their final proffered basis for

demonstrating a likelihood of success on the merits, is that “[t]he

DMV fails to provide adequate notice to drivers either before or

after licenses are revoked for failure to pay fines and costs, in

violation of the Due Process Clause.”         (Doc. 35 ¶ 149.)   The focus

of   Plaintiffs’      grievance   is   the   one-page   revocation   order,

entitled “Official Notice,” that the DMV sends traffic defendants

pursuant to section 20-24.1(a) upon receiving notice from a state

court that the traffic defendant has failed to pay a fine or cost.

See (Doc. 55 ¶ 4).

      The first full paragraph of the Official Notice states:

      WE REGRET TO INFORM YOU THAT EFFECTIVE [time and date],
      YOUR NC DRIVING PRIVILEGE IS SCHEDULED FOR AN INDEFINITE
      SUSPENSION IN ACCORDANCE WITH GENERAL STATUTE 20-24.1
      FOR FAILURE TO PAY FINE AS FOLLOWS:

(Doc. 35 ¶ 32.)         The Official Notice then lists the traffic

defendant’s violation date and citation number, as well as the

name and phone number of the state court handling the traffic

violation.    (Id.)     The Official Notice continues:

      UNFORTUNATELY THE DIVISION OF MOTOR VECHICLES CANNOT
      ACCEPT PAYMENTS FOR FINES AND COSTS IMPOSED BY THE
      COURTS. PLEASE CONTACT THE COURT ABOVE TO COMPLY WITH
      THIS CITATION.

      NOTE: PLEASE COMPLY WITH THIS CITATION PRIOR TO THE
      EFFECTIVE DATE IN ORDER TO AVOID THIS SUSPENSION.


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        IF YOU HAVE NOT COMPLIED WITH THIS CITATION BY THE
        EFFECTIVE DATE OF THIS ORDER, YOU WILL NEED TO MAIL YOUR
        CURRENT NORTH CAROLINA DRIVER LICENSE, IF APPLICABLE, TO
        THE DIVISION.    FAILURE TO DO SO MAY RESULT IN AN
        ADDITIONAL $50.00 SERVICE FEE.

        REINSTATEMENT PROCEDURES:

        UPON COMPLIANCE WITH THIS CITATION, YOU MAY VISIT YOUR
        LOCAL DRIVER LICENSE OFFICE.      AT SUCH TIME PROPER
        IDENTIFICATION AND PROOF OF AGE WILL BE NEEDED.

        A RESTORATION FEE OF $65.00 AND THE APPROPRIATE LICENSE
        FEES ARE NEEDED AND HAVE TO BE PAID AT THE TIME YOUR
        DRIVING PRIVILEGE IS REINSTATED.

        THIS ORDER IS IN ADDITION TO AND DOES NOT SUPERSEDE ANY
        PRIOR ORDER ISSUED BY THE DMV. IF ADDITIONAL INFORMATION
        CONCERNING THIS ORDER IS NEEDED, PLEASE CONTACT A
        REPRESENTATIVE OF THE DIVISION AT (919) 715-7000.

        DIRECTOR OF PROCESSING SERVICES

(Id.)     As Plaintiffs point out, nowhere does the Official Notice

mention that traffic defendants can prevent or reverse their

license revocation by demonstrating their inability to pay under

section 20-24.1(b)(4), nor does it mention the option of requesting

an ability-to-pay hearing under section 20-24.1(b1).         Instead, it

merely directs recipients to “comply with this citation.”          (Id.)

     In Plaintiffs’ view, the Official Notice’s failure to notify

traffic defendants of the statute’s ability-to-pay and hearing

provisions makes it “critically misleading” and insufficient under

the Due Process Clause.        (Doc. 39 at 27.)        The Commissioner

responds that the “North Carolina[] statute provides” notice and

that “procedural due process does not require” individualized



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notice.   (Doc. 45 at 21.)

       As discussed previously, the notice requirement of the Due

Process Clause “ensure[s] that the opportunity for a hearing is

meaningful.”     West Covina, 525 U.S. at 240; see also Mullane, 339

U.S. at 314 (“Th[e] right to be heard has little reality or worth

unless one is informed that the matter is pending and can choose

for himself whether to appear or default, acquiesce or contest.”).

To be sufficient, notice must be “reasonably calculated, under all

the circumstances, to apprise interested parties of the pendency

of the action and afford them an opportunity to present their

objections.”     Mullane, 339 U.S. at 314.         A “mere gesture” is

insufficient.      Id. at 315.       While this requirement sometimes

mandates individualized notice, the Supreme Court has held that it

does not require “individualized notice of state-law remedies

which . . . are established by published, generally available state

statutes.”   West Covina, 525 U.S. at 241; see also id. (“Once the

property owner is informed that his property has been seized, he

can turn to these public sources to learn about the remedial

procedures available to him.”).

       In this case, there is a publicly available state statute

that   clearly    lays   out   the   procedures   available   to   traffic

defendants facing license revocation.         Compare N.C. Gen. Stat.

§ 20-24.1 with Stinnie, 355 F. Supp. 3d at 529 (explaining that

West Covina does not control as to the notice issue in a challenge

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to a Virginia license revocation statute because the Virginia

statute    does   not   provide   for    any   opportunity   to   be   heard).

Plaintiffs make no argument — nor would such an argument be

persuasive — that section 20-24.1 is insufficiently clear about

these     procedures.       Instead,         Plaintiffs   argue    that    the

individualized Official Notice undermines the statutory notice by

failing to mention all the relevant statutory provisions.                 This

argument is unpersuasive, as West Covina relies on a presumption

that property owners “can turn to . . . public sources” for notice

when those sources adequately describe the relevant procedures.

Even if the court were to recognize an exception to the West Covina

presumption where a state misleads people who otherwise would have

turned to a publicly-available statute, such an exception could

hardly apply here in light of the fact that the Official Notice

directly cites to section 20-24.1 in its first sentence.               (Doc. 35

¶ 32); cf. Nnebe v. Daus, 184 F. Supp. 3d 54, 74 (S.D.N.Y. 2016)

(finding that notice was sufficient under the Due Process Clause

where — inter alia — the individualized notice documents, despite

“not    contain[ing]”      some   important       information     about    the

opportunity to be heard “on their face,” directly cited to a

publicly available document containing the information). 35             While,


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  Plaintiffs’ counsel suggested at the hearing that the cases cited in
their briefing “implicitly” say that “if the [individualized] notice
goes out and tells someone something, they should be able to rely on
what [it says].”    However, most of the “misleading notice” cases
Plaintiffs cite predate West Covina, and the few that do not fail to

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absent the statute, the Official Notice would not on its own

provide sufficient notice, it is not so affirmatively misleading

as to destroy the sufficient notice provided by the statute to

which it directly cites: “GENERAL STATUTE 20-24.1.”              (Doc. 35

¶ 32.)

           2.     Outcome of Motion for Preliminary Injunction

     In conclusion, Plaintiffs have not shown that they are likely

to succeed on either of their remaining claims under the Due

Process Clause.    Because Plaintiffs’ failure to satisfy any one of

the four preliminary injunction factors is fatal to their motion,

the court need not address the remaining factors and the motion

will be denied.     See Pashby, 709 F.3d at 320 (stating that “each

preliminary     injunction   factor   [must]   be   satisfied”   (internal

quotation marks omitted)).

III. CONCLUSION

     For the reasons stated,

     IT IS THEREFORE ORDERED that the Commissioner’s motion for

judgment on the pleadings (Doc. 46) is GRANTED IN PART and DENIED

IN PART in that Plaintiffs’ first claim is DISMISSED WITH PREJUDICE

but their second and third claims survive insofar as they have not

been challenged at this stage.

     IT IS FURTHER ORDERED that Plaintiffs’ second motion for class



address that decision.   Further, one of Plaintiffs’ cited cases is Nnebe
itself.

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certification (Doc. 36) is GRANTED IN PART and that the following

two classes are certified:

     Revoked Class: All individuals whose driver’s licenses
     were revoked by the DMV on or after May 30, 2015, due to
     their failure to pay fines, penalties, or court costs
     assessed by a court for a traffic offense, and whose
     driver’s licenses remain so revoked.

     Future Revocation Class: All individuals whose driver’s
     licenses will be revoked in the future by the DMV due to
     their failure to pay fines, penalties, or court costs
     assessed by a court for a traffic offense.

     IT IS FURTHER ORDERED that Plaintiffs’ second motion for

preliminary injunction (Doc. 38) is DENIED.



                                           /s/   Thomas D. Schroeder
                                        United States District Judge

March 31, 2019




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